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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                                §
  EUGENIO VARGAS,                               §
                                                §
       Plaintiff/Counterclaim Defendant,        §        Civil Action No. 4:22-cv-430-Y
  v.                                            §
                                                §        Judge Terry R. Means
 ASSOCIATION OF PROFESSIONAL                    §
 FLIGHT ATTENDANTS, et al.,                     §        (Relates to Motion Referred to
                                                §        Magistrate Judge Cureton)
       Defendants/Counterclaim Plaintiff.       §



        APPENDIX IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION
                      TO AMENDED MOTION TO COMPEL
              RESPONSES TO FIRST REQUESTS FOR PRODUCTION



         Pursuant to Local Rule 7.1(i) and Section II.C of this Court’s Case Management

 Requirements, the Association of Professional Flight Attendants (“APFA”) submits this appendix

 of non-published cases and materials cited in its Response in Opposition to Amended Motion to

 Compel Responses to First Request for Production:



                              Description                                     Appendix Pages

Declaration of Charlette Matts                                           Appx. 1-2
Declaration of Hal O’Neil                                                Appx. 3-5

Arbitration decision excerpt, Doc. 1-1                                   Appx. 6-10

Email re Request for Production: - J. Bartos to K. Phillips,
10/20/23                                                                 Appx. 11-12
Email re Confidentiality: - Between J. Bartos and K. Phillips            Appx. 13-16

Email re IMA Production: - M. Norton to J. Bartos, 6/1/23                Appx. 17

Non-Published Cases
MC Trilogy Texas, LLC v. City of Heath, Texas, No. 3:22-CV-
2154-D, 2023 WL 5918925, at *8 (N.D. Tex. Sept. 11, 2023                 Appx. 18-29
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Dated: November 13, 2023           Respectfully submitted,


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                              CERTIFICATE OF SERVICE

      I certify that on November 13, 2023, a true and correct copy of the foregoing Appendix of

Non-published Cases and Materials Cited In APFA Defendants’ Response in Opposition to

Amended Motion to Compel Responses to First Request for Production was served upon all

persons who have requested notice and service of pleadings in this case via the Court’s ECF

system.



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